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                                                 THE HONORABLE BARBARA J. ROTHSTEIN
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6                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
7
     LAURIE KRAUSE, on Behalf of Herself
                                      )
8    and on Behalf of All Others Similarly
                                      )             Case Number: 2:19-cv-00123-MAT
9    Situated,                        )
                                      )
10        Plaintiff(s),               )             ORDER GRANTING JOINT MOTION
                                      )             FOR APPROVAL OF FAIR LABOR
11                                    )             STANDARDS ACT SETTLEMENT
12        vs.                         )             AND MOTION TO DISMISS
                                      )
13   EXPEDIA GROUP, INC. and EGENCIA, )
     LLC,                             )
14                                    )
15        Defendants.                 )
                                      )
16
            BEFORE THE COURT is the Parties’ Joint Motion for Approval of Fair Labor Standards
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     Act Settlement and Motion to Dismiss. Having considered the Motion and the arguments of
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19   Counsel, the Court is of the opinion that the Motion should be GRANTED.

20          Therefore, it is ORDERED that Parties’ Fair Labor Standards Act settlement is hereby
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     APPROVED and Plaintiffs’ Complaint is DISMISSED with prejudice.
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     IT IS SO ORDERED.
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25   Dated this 5th day of November, 2020.

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28                                             UNITED STATES DISTRICT JUDGE
